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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                            :   CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC                   :   BANKRUPTCY NO. 22-10609(AMC)

                               Debtor         :


                                 CERTIFICATE OF SERVICE

         I, Robert W. Seitzer, Esquire hereby certify that I caused a true and correct copy of the

Motion of Debtor, Pursuant to Bankruptcy Rules 2002(a)(7) and 3003(c)(3), for an Order (i) Fixing

a Bar Date for Filing Proofs of Claim and (ii) Approving the Bar Date Order and Related

Procedures to be served on April 11, 2022 upon the parties on the attached list on the manner

indicated thereon.


                                              KARALIS PC


                                              By:     /s/ Robert W. Seitzer_______
                                                      ROBERT W. SEITZER

                                                      Attorneys for the Debtor
Dated; April 11,2022
                   Case 22-10609-amc         Doc 56-2 Filed 04/11/22 Entered 04/11/22 16:47:27                            Desc
                                               Certificate of Service Page 2 of 2
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